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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF ILLINOIS
                                         BENTON DIVISION

Sheila Johnston, individually and on behalf of                    3:21-cv-00441-NJR
all others similarly situated,
                                   Plaintiff,

                     - against -

Kashi Sales, L.L.C.,
                                   Defendant
           STIPULATION TO MODIFY CLASS CERTIFICATION DEADLINES

         WHEREAS, on October 27, 2022, this Court approved the Parties’ proposed scheduling

and discovery order setting Plaintiff’s class certification motion to be due on April 7, 2023, Kashi’s

opposition to be due on June 9, 2023, and Plaintiff’s reply to be due on July 7, 2023;

         WHEREAS, the Parties are engaging in discussions regarding reaching a resolution of this

matter and have agreed in the interest of conserving judicial resources to extend the Class

Certification deadlines including disclosures and expert witnesses by sixty days;

         WHEREAS, this extension will not impact the date of any court appearance, deadline for

completing all discovery, or the deadline for filing dispositive motions;

         IT IS HEREBY STIPULATED, subject to the Court’s approval, the Class Certification

deadlines including disclosures and expert witnesses shall be extended by sixty days.

Dated:     April 5, 2023
                                                                    Respectfully submitted,

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